                                                                                            FILED
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                                                                                         May 05, 2021
                                                                                    CLERK, U.S. DISTRICT COURT
                                                                                    WESTERN DISTRICT OF TEXAS

                               UNITED STATES DISTRICT COURT                             Breanna Coldewey
                                                                                 BY: ________________________________
                                WESTERN DISTRICT OF TEXAS                                                DEPUTY
                                   SAN ANTONIO DIVISION

UNITED STATES OF AMERICA,                     §       CRIMINAL NO.: SA-21-CR-
                                              §
               Plaintiff,                     §       INDICTMENT
                                              §       Ct 1: 21 U.S.C. §§ 846, 841(a)(1) &
VS.                                           §       841(b)(1)(A)
                                              §       Conspiracy to Possess with Intent
TIMOTHY NUNCIO (1),                           §       to Distribute Methamphetamine
RICHARD CHRISTIAN RIOS (2),                   §
                                              §       Cts 2-3: 21 U.S.C. §§ 841(a)(1) & (b)(1)(A),
                                              §       & 18 U.S.C. § 2
                                              §       Possession with Intent to Distribute
                                              §       Methamphetamine & Aiding and Abetting
                                              §
                                              §       Ct 4: 21 U.S.C. §§ 841(a)(1) & (b)(1)(A),
                                              §       Possession with Intent to Distribute
                                              §       Methamphetamine
                                              §

                                              SA21-CR-00183-FB
               Defendants.                    §

THE GRAND JURY CHARGES:

                                           COUNT ONE
                            [21 U.S.C. §§ 846, 841(a)(1) & 841(b)(1)(A)]

       That beginning on or about December 14, 2020, the exact date unknown, and continuing

until April 7, 2021, in the Western District of Texas, Defendants,

                                  TIMOTHY NUNCIO (1), and
                                RICHARD CHRISTIAN RIOS (2),

knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed together,

and with each other, and with others, to commit the following offenses against the United States:

to distribute a controlled substance, which offense involved 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, its salts, isomers, or salts of

isomers, a Schedule II Controlled Substance, in violation of Title 21, United States Code, Sections

841(a)(1) & 841(b)(1)(A), and 846.


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                                       COUNT TWO
                      [21 U.S.C. §§ 841(a)(1)/(b)(1)(A) & 18 U.S.C. § 2]

       That on or about January 5, 2021, in the Western District of Texas, Defendants,

                                TIMOTHY NUNCIO (1), and
                              RICHARD CHRISTIAN RIOS (2),

aided and abetted by each other, and others, did knowingly, intentionally, and unlawfully possess

with intent to distribute a controlled substance, which offense involved 500 grams or more of a

mixture or substance containing a detectable amount of methamphetamine, its salts, isomers, or

salts of its isomers, a Schedule II Controlled Substance, in violation of Title 21, United States

Code, Sections 841(a)(1)/(b)(1)(A), and Title 18, United States Code, Section 2.



                                      COUNT THREE
                      [21 U.S.C. §§ 841(a)(1)/(b)(1)(A) & 18 U.S.C. § 2]

       That on or about March 31, 2021, in the Western District of Texas, Defendant,

                              RICHARD CHRISTIAN RIOS (2),

aided and abetted by others, did knowingly, intentionally, and unlawfully possess with intent to

distribute a controlled substance, which offense involved 500 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, its salts, isomers, or salts of its

isomers, a Schedule II Controlled Substance, in violation of Title 21, United States Code, Sections

841(a)(1)/(b)(1)(A), and Title 18, United States Code, Section 2.



                                        COUNT FOUR
                               [21 U.S.C. §§ 841(a)(1)/(b)(1)(A)]

       That on or about April 7, 2021, in the Western District of Texas, Defendant,

                                   TIMOTHY NUNCIO (1),

did knowingly, intentionally, and unlawfully possess with intent to distribute a controlled

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substance, which offense involved 500 grams or more of a mixture or substance containing a

detectable amount of methamphetamine, its salts, isomers, or salts of its isomers, a Schedule II

Controlled Substance, in violation of Title 21, United States Code, Sections 841(a)(1)/(b)(1)(A).




                                             A TRUE BILL



                                             FOREPERSON OF THE GRAND JURY


       ASHLEY C. HOFF
       UNITED STATES ATTORNEY


BY:    ________________________________
       FOR WILLIAM CALVE
       Assistant United States Attorney




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